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 PROB 12C                                                                            Report Date: October 19, 2021
(6/16)

                                       United States District Court                                      FILED IN THE
                                                                                                     U.S. DISTRICT COURT
                                                                                               EASTERN DISTRICT OF WASHINGTON
                                                       for the
                                                                                                Oct 20, 2021
                                        Eastern District of Washington                              SEAN F. MCAVOY, CLERK


                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Jesus Antonio Ortiz-Gonzales              Case Number: 0980 2:20CR00028-RMP-1
 Address of Offender:                                  Spokane, Washington 99201
 Name of Sentencing Judicial Officer: The Honorable Rosanna Malouf Peterson, Senior U.S. District Judge
 Date of Original Sentence: March 1, 2021
 Original Offense:          Felon in Possession of a Firearm and Ammunition, 18 U.S.C. §§ 922(g)(1) and
                            924(a)(2)
 Original Sentence:         Prison - 3 months                Type of Supervision: Supervised Release
                            TSR - 32 months

 Revocation Sentence:       Prison - 28 days
 (June 30, 2021)            TSR - 35 months

 Revocation Sentence:       Prison - 3 months
 (July 26, 2021)            TSR - 32 months
 Asst. U.S. Attorney:       Michael James Austen Ellis       Date Supervision Commenced: October 14, 2021
 Defense Attorney:          John Barto McEntire, IV         Date Supervision Expires: June 13, 2024


                                          PETITIONING THE COURT

To issue a warrant.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

            1           Mandatory Condition # 1: You must not commit another federal, state or local crime.

                        Supporting Evidence: The offender is alleged to have violated mandatory condition number
                        1, by committing the offense of possession of child pornography on or about October 18,
                        2021, in violation of 18 U.S.C. § 2252A(a)(5)(B).

                        On October 14, 2021, the offender’s conditions of supervision were reviewed and he signed
                        said conditions acknowledging an understanding of his requirements. Specifically, he was
                        made aware by the supervising officer that he must not commit another federal, state or local
                        crime.
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                      On October 18, 2021, the residential reentry center (RRC) conducted a random search of Mr.
                      Ortiz-Gonzales’ cellular telephone. RRC staff discovered multiple pornographic images and
                      videos, including one video that appeared to contain child pornography. Subsequently, his
                      telephone was confiscated by the RRC for further review.

                      On October 19, 2021, Federal Bureau of Investigation (FBI) special agent Andrew Booth
                      viewed the aforementioned video content and confirmed one of the videos contained child
                      pornography. As of this writing, no charges have been filed.
          2           Special Condition #2: You must reside in a residential reentry center (RRC) for a period up
                      to 180 days at the direction of the supervising officer. Your participation in the programs
                      offered by the RRC is limited to employment, education, treatment, and religious services
                      at the direction of the supervising officer. The defendant shall abide by the rules and
                      requirements of the facility.

                      Supporting Evidence: The offender is alleged to have violated special condition number
                      2, by being terminated from the RRC on October 19, 2021, based on his failure to abide by
                      RRC rules.

                      On October 14, 2021, the offender’s conditions of supervision were reviewed and he signed
                      said conditions acknowledging an understanding of his requirements. Specifically, he was
                      made aware that he must abide by the RRC rules.

                      As previously noted, on October 18, 2021, Mr. Ortiz-Gonzales’ cellular telephone was
                      confiscated by RRC staff after a routine search revealed his telephone contained
                      pornography and suspected child pornography.

                      On October 19, 2021, Federal Bureau of Investigation (FBI) special agent Andrew Booth
                      reviewed some of the content on the offender’s cellular telephone and he confirmed one of
                      the videos contained child pornography.

                      According to RRC rules, residents are prohibited from having pornographic pictures and/or
                      videos on their cellular telephones.

                      Based on the information noted above, Mr. Ortiz-Gonzales’ public law placement at the
                      RRC has been terminated.

The U.S. Probation Office respectfully recommends the Court issue a warrant requiring the defendant to appear to
answer to the allegation(s) contained in this petition.

                                        I declare under penalty of perjury that the foregoing is true and correct.
                                                          Executed on:     October 19, 2021
                                                                           s/Lori Cross
                                                                           Lori Cross
                                                                           U.S. Probation Officer
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